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                EXHIBIT B
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           Re:       Freedom of Information Act Request
                     Expedited Processing Requested

  To Whom It May Concern:

     The Knight First Amendment Institute at Columbia University (“Knight
  Institute” or “Institute”) submits this request pursuant to the Freedom of
  Information Act (“FOIA”), 5 U.S.C. § 552, for records concerning the
  exclusion or removal of individuals from the United States based on their
  speech, beliefs, or associations.

                                      I. Background

     During his 2016 presidential campaign, then-candidate Donald Trump
  evoked a Cold War era “ideological screening test” for admission into the
  United States and proclaimed that a “new screening test” involving
  “extreme, extreme vetting” was overdue.2 A week after his inauguration,

  1 The Knight First Amendment Institute is a New York not for profit organization based

  at Columbia University that works to preserve and expand the freedoms of speech and the
  press through strategic litigation, research, and public education.
  2 Karen DeYoung, Trump Proposes Ideological Test for Muslim Immigrants and Visitors to the U.S.,

  Wash. Post (Aug. 15, 2016), https://perma.cc/G9SC EPHT.



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  President Trump issued Executive Order 13,769, declaring that the United
  States “must ensure that those admitted to this country do not bear hostile
  attitudes toward it and its founding principles” and “cannot, and should not,
  admit those who do not support the Constitution.” Exec. Order No. 13,769,
  82 Fed. Reg. 8,977 (Jan. 27, 2017).

     The President issued a revised order on March 6, 2017. It directed the
  Secretary of State, the Attorney General, the Secretary of Homeland
  Security, and the Director of National Intelligence to develop a more robust
  vetting program for aliens seeking entry into the United States, involving,
  among other things, “collection of all information necessary for a rigorous
  evaluation of all grounds of inadmissibility.” Exec. Order No. 13,780, 82
  Fed. Reg. 13,209, 13,215 (Mar. 6, 2017).

     The Knight Institute seeks to inform the public about any new vetting
  policies and about the government’s understanding of its authority to base
  immigration decisions on individuals’ speech, beliefs, or associations. It also
  seeks to report on the government’s use of existing statutory provisions,
  including the “endorse or espouse provisions” and the “foreign policy
  provision,”2 to exclude or remove individuals from the United States on
  these grounds.

                                 II. Records Requested

    The Knight Institute requests the following records created on or after
  May 11, 2005:

           1. All directives, memoranda, guidance, emails, or other
              communications sent by the White House3 to any federal agency

  1 Any alien who “endorses or espouses terrorist activity or persuades others to endorse or
  espouse terrorist activity,” 8 U.S.C. § 1182(a)(3)(B)(i)(VII), as well as any alien who is a
  representative of “a political, social, or other group that endorses or espouses terrorist
  activity,” 8 U.S.C. § 1182(a)(3)(B)(i)(IV)(bb) (together, the “endorse or espouse provisions”)
  is deemed inadmissible. The endorse or espouse provisions provide a basis for removal as
  well. See 8 U.S.C. § 1225(c) (expedited removal of arriving aliens); 8 U.S.C. § 1227(a)(4)(B)
  (removal of admitted aliens); see also 8 U.S.C. § 1158(b)(2)(A)(v) (removal of refugees
  otherwise qualified for asylum on similar grounds).
  2 Any “alien whose entry or proposed activities in the United States . . . would have

  potentially serious adverse foreign policy consequences” is inadmissible, 8 U.S.C. §
  1182(a)(3)(C)(i), even, under certain circumstances, where the determination of
  inadmissibility is based on “beliefs, statements or associations [that] would be lawful within
  the United States,” 8 U.S.C. § 1182(a)(3)(C)(iii). See also 8 U.S.C. §§ 1225(c)(1), 1227(a)(4)(C)
  (providing for expedited removal and removal on the same grounds).
  3 The term “White House” includes, but is not limited to, the Executive Office of the
  President, the Office of the President, the White House Office, the Office of Counsel to the
  President, the National Security Council, the Office of the Vice President, the Cabinet, as
  well as any government officer who directly advises the President or the Vice President as
  to the legality of, or authority to undertake, any executive action.



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               since January 19, 2017, regarding consideration of individuals’
               speech, beliefs, or associations in connection with immigration
               determinations, including decisions to exclude or remove
               individuals from the United States.

           2. All memoranda concerning the legal implications of excluding
              or removing individuals from the United States based on their
              speech, beliefs, or associations.

           3. All legal or policy memoranda concerning the endorse or
              espouse provisions, or the foreign policy provision as it relates to
              “beliefs, statements or associations.”

           4. All records containing policies, procedures, or guidance
              regarding the application or waiver of the endorse or espouse
              provisions or the foreign policy provision. Such records would
              include policies, procedures, or guidance concerning the entry
              or retrieval of data relevant to the endorse or espouse provisions
              or the foreign policy provision into or from an electronic or
              computer database.

           5. All Foreign Affairs Manual sections (current and former) relating
              to the endorse or espouse provisions or the foreign policy
              provision, as well as records discussing, interpreting, or
              providing guidance regarding such sections.

           6. All records concerning the application, waiver, or contemplated
              application or waiver of the endorse or espouse provisions to
              exclude or remove individuals from the United States, or the
              application, waiver, or contemplated application or waiver of the
              foreign policy provision to exclude or remove individuals from
              the United States based on “beliefs, statements or associations,”
              including:

               a. Statistical data or statistical reports regarding such
                  application, waiver, or contemplated application or waiver;

               b. Records reflecting the application, waiver, or contemplated
                  application or waiver of the endorse or espouse provisions or
                  foreign affairs provision by an immigration officer, a border
                  officer, a Department of Homeland Security official, or a
                  Department of Justice official;

               c. Records concerning any determination made by the
                  Attorney General pursuant to 8 U.S.C. § 1225(c) regarding

  1 As used herein, the term “exclude” includes denying a visa, revoking a visa, or otherwise

  deeming inadmissible for entry into the United States.



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                 the admissibility of arriving aliens under the endorse or
                 espouse provisions or the foreign policy provision;

             d. Department of Homeland Security and Department of
                Justice records concerning consultation between the
                Secretary of State, the Secretary of Homeland Security,
                and/or the Attorney General (or their designees) relating to
                any waiver or contemplated waiver of the endorse or espouse
                provisions pursuant to 8 U.S.C. §§ 1158(b)(2)(v),
                1182(d)(3)(A), or 1182(d)(3)(B)(i); and

             e. Notifications or reports from the Secretary of Homeland
                Security or the Secretary of State concerning waivers of the
                endorse or espouse provision pursuant to 8 U.S.C. §
                1182(d)(3)(B)(ii).

     Where a document contains information that falls into one or more of
  the categories described above, we seek the entirety of that document. If
  processing the entirety of a given document would be unusually
  burdensome, we ask that you give us an opportunity to narrow our request.
  Please disclose all segregable portions of otherwise exempt records. See 5
  U.S.C. § 552(b).

      We also ask that you provide responsive electronic records in their native
  file format or a generally accessible electronic format (e.g., for tabular data,
  XLS or CSV). See 5 U.S.C. § 552(a)(3)(B). Alternatively, please provide the
  records electronically in a text-searchable, static-image format (e.g., PDF), in
  the best image quality in the agency’s possession, and in separate, Bates-
  stamped files.

               III. Application for Expedited Processing

     The Knight Institute requests expedited processing pursuant to 5 U.S.C.
  § 552(a)(6)(E). There is a “compelling need” for the records sought because
  the information they contain is “urgent[ly]” needed by an organization
  primarily engaged in disseminating information “to inform the public about
  actual or alleged Federal Government activity.” 5 U.S.C.
  § 552(a)(6)(E)(v)(II).

         A. The Knight Institute is primarily engaged in disseminating
            information in order to inform the public about actual or alleged
            government activity.

     The Knight Institute is “primarily engaged in disseminating
  information” within the meaning of FOIA. 5 U.S.C. § 552(a)(6)(E)(v)(II).

    The Institute is a newly established organization at Columbia University
  dedicated to defending and strengthening the freedoms of speech and the


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  press in the digital age. Research and public education are central to the
  Institute’s mission. Obtaining information about government activity,
  analyzing that information, and publishing and disseminating it to the press
  and the public are among the core activities the Institute was established to
  perform. See ACLU v. DOJ, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004)
  (finding public interest group that “gathers information of potential interest
  to a segment of the public, uses its editorial skills to turn the raw material
  into a distinct work, and distributes that work to an audience” to be
  “primarily engaged in disseminating information”).

            B. The records sought are urgently needed to inform the public about
               actual or alleged government activity.

     The requested records are urgently needed to inform the public about
  actual or alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). The
  records sought concern the government’s exclusion and removal of
  individuals from the United States based on their speech, beliefs, or
  associations. Such activity is ongoing, and the President has promised
  “strong programs” to ensure that the only individuals allowed in the United
  States are those who “want to love our country.”2 To this end, the President
  has mandated more robust vetting standards for all immigration programs,
  and has directed the Secretary of Homeland Security to report periodically
  on the development of these standards from now until October 2, 2017.
  Exec. Order No. 13,780, 82 Fed. Reg. at 13,215.

     President Trump’s executive orders on immigration have already been
  the subject of widespread debate,3 and the development of new vetting
  policies will ensure continued public interest in the issue. Yet, lack of
  transparency with respect to current policies and practices stymies



  1Mike McPhate, Columbia University To Open a First Amendment Institute, N.Y. Times (May 17,
  2016), https://perma.cc/YC9M LUAD; James Rosen, New Institute Aspires To Protect First
  Amendment in Digital Era, McClatchy DC (May 20, 2016), https://perma.cc/ZS2K FPED.
  2 Trump Defends Immigration Restrictions, Wants People ‘Who Love Our Country,’ Chi. Trib. (Feb.

  6, 2017), http://trib.in/2vIQeuw.
  3 See, e.g., Mark Berman, To Argue for Stricter Vetting of Immigrants, Trump Invokes Attacks Carried

  Out by U.S. Citizens, Wash. Post (Feb. 28, 2017), https://perma.cc/PA4P 9KPP; Lauren
  Gambino & Tom McCarthy, Trump Pressing Ahead with ‘Extreme Vetting’ in Spite of Court Battles,
  The Guardian (June 6, 2017), https://perma.cc/Q6WT XCRX; Jonathan E. Meyer, The
  Consequences of Extreme Vetting, Politico (May 5, 2017), https://perma.cc/9F5P 65PQ; S.A.
  Miller & Dave Boyer, Trump Signs New Extreme Vetting Order, Wash. Times (Mar. 6, 2017),
  https://perma.cc/2XME QKFH; Michael Price, Does the President’s Immigration Order Violate
  the Rule Against Ideological Exclusion?, Lawfare (Feb. 1, 2017), https://perma.cc/9BKA X86L;
  Yeganeh Torbati, State Department Proposes Collecting Immigrants’ Social Media Handles in Move
  Toward ‘Extreme Vetting,’ Bus. Insider (May 4, 2017), https://perma.cc/H4Q9 648S; Trump
  Administration’s Threat To Impose Ideological Test for Immigrants Evokes Dark Chapter in U.S. History,
  Says PEN America, PEN America (Jan. 27, 2017), https://perma.cc/BVS8 8AV4.


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  meaningful debate over the form that the new “extreme vetting” policies
  may take.

     The public’s interest in the records is even greater because current
  practices may violate constitutional rights. The First Amendment
  encompasses the right “to receive suitable access to social, political, esthetic,
  moral, and other ideas and experiences,” Red Lion Broad. v. FCC, 395 U.S.
  367, 390 (1969), and this “right to receive information” is implicated where
  the government excludes a non-citizen from the United States based on her
  speech or beliefs, Kleindiest v. Mandel, 408 U.S. 753, 763 65 (1972). At
  present, the public can neither determine the degree to which its First
  Amendment rights are being abridged under existing policies, nor assess
  how proposed policies could further curtail these rights moving forward.

      For these reasons, the Knight Institute is entitled to expedited processing
  of this request.

           IV. Application for Waiver or Limitation of Fees

     The Knight Institute requests a waiver of document search, review, and
  duplication fees on the grounds that disclosure of the requested records is in
  the public interest and that disclosure is “likely to contribute significantly to
  public understanding of the operations or activities of the government and
  is not primarily in the commercial interest of the requester.” 5 U.S.C.
  § 552(a)(4)(A)(iii). For the reasons explained above, disclosure of the records
  would be in the public interest. Moreover, disclosure would not further the
  Knight Institute’s commercial interest. The Institute will make any disclosed
  information available to the public at no cost. Thus, a fee waiver would fulfill
  Congress’s legislative intent in amending FOIA to ensure “that it be liberally
  construed in favor of waivers for noncommercial requesters.” Judicial Watch,
  Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (citation omitted).

     In addition, the Knight Institute requests a waiver of search and review
  fees on the ground that it qualifies as an “educational . . . institution” whose
  purposes include “scholarly . . . research” and the records are not sought for
  commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The Institute has a substantial
  educational mission. Situated within a prominent academic research
  university, the Institute will perform scholarly research on the application of
  the First Amendment in the digital era. The Institute is in the midst of
  inaugurating a research program that will bring together academics and
  practitioners of different disciplines to study contemporary First
  Amendment issues and offer informed, non-partisan commentary and
  solutions. It will publish that commentary in many forms             in scholarly
  publications, in long-form reports, and in short-form essays.

    Finally, the Knight Institute requests a waiver of search and review fees
  on the ground that it is a “representative of the news media” within the



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  meaning of FOIA and the records are not sought for commercial use. 5
  U.S.C. § 552(a)(4)(A)(ii)(II). The Institute qualifies as a “representative of the
  news media” because it is an “entity that gathers information of potential
  interest to a segment of the public, uses its editorial skills to turn the raw
  materials into a distinct work, and distributes that work to an audience.” 5
  U.S.C. § 552(a)(4)(A)(ii); see Nat’l Sec. Archive v. DOD, 880 F.2d 1381, 1387
  (D.C. Cir. 1989) (finding that an organization that gathers information,
  exercises editorial discretion in selecting and organizing documents,
  “devises indices and finding aids,” and “distributes the resulting work to the
  public” is a “representative of the news media” for purposes of FOIA); Serv.
  Women’s Action Network v. DOD, 888 F. Supp. 2d 282, 287 88 (D. Conn.
  2012); ACLU, 321 F. Supp. 2d at 30 n.5. Courts have found other non-profit
  organizations with research and public education missions similar to that of
  the Knight Institute to be representatives of the news media. See, e.g., Elec.
  Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d 5, 10 15 (D.D.C. 2003) (finding
  non-profit group that disseminated an electronic newsletter and published
  books was a “representative of the news media” for purposes of FOIA); Nat’l
  Sec. Archive, 880 F.2d at 1387; Judicial Watch, Inc. v. DOJ, 133 F. Supp. 2d 52,
  53 54 (D.D.C. 2000) (finding Judicial Watch, self-described as a “public
  interest law firm,” a news media requester).

     For these reasons, the Knight Institute is entitled to a fee waiver.

                                  *       *       *

     Thank you for your attention to our request. We would be happy to
  discuss its terms with you over the phone or via email to clarify any aspect
  of the request or, where reasonable, to narrow it.

     I certify that the foregoing is true and correct.




                                          Sincerely,

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